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         EXHIBIT 78
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                   United States                                                                       of America




                                           Department of the Treasury
                                            Internal Revenue Service


                                                                                                     September 7, 2021




                                    CERTIFICATE OF OFFICIAL RECORD

I certify that the annexed: is a true copy of the Form 1040X, Amended U.S. Individual Income Tax Return,
received on March 30, 2018, for John B. Wilson, SSN:                    and spouse, Leslie Q. Wilson, SSN:
                 for the tax period ending December 31, 2014, consisting of sixteen (16) pages




under the custody of this office.




                                                                              IN WITNESS WHEREOF, I have hereunto set my
                                                                              hand, and caused the seal of this office to be affixed,
                                                                              on the day and year first above written.

                                                                              By the direction of the Secretary of the Treasury:




                                                                               ay El n, Supervisory Investigative Analyst
                                                                              Internal Revenue Service — Criminal Investigation
                                                                              Delegation Order 11-5

Catalog Number 19002E               *U.S. Government Printing Office: 2000 — 533-03907196                        Form 2866 (Rev. 09-97)



                                                                                                               USAO-VB-01720828


                                                            EX. 501A p. 1 of 17
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                                                                     Deartment of the Treasury - Internal Revenue Service
           1040X                             Amended U.S. Individual Income Tax Return                                                                                                    OMB No, 1545-0074
    (Rev. December 2014)             ), Information about Form 1040X and its separate instructions is at www.irs.gov/form1040X.
    This return is for calendar year                              1 2 0 14     1     2013     1   1 2012                1         1 2011
    Other year. Enter one: calendar year                                     or fiscal year (month and year ended):
    Your first name and initial                                                           Last name                                                                     - Your social security number
      JOHN B                                                                                  WILSON
    If a joint return, spouse's first name and initial                                       Last name                                                                   Spouse's social security number

      LESLIE 0                                                                                w3LSON
    Current home address (number and street). If you have a P.O. box, see instructions.                                                                  Apt. no.        Your phone number

      155 IRVING AVENUE
    City, town or post office, state, and ZIP code. If you have a foreign address, also complete spaces below (see instructions).

      HY
    Foreign country name                                                                          Foreign province/state/county                                                      Foreign postal code
                                                                                                                                                                                             ,
    Amended return filing status. You must check one box even if you are not changing                                                             Full-year coverage,
    your filing status, Caution. In general, you cannot change your filing status from joint to                                                   If all members of your household have full-
    separate returns after the due date.                                                                                                          year minimal essential health care coverage,

     —     Single                             I Married filing separately                                                                         check "Yes." Otherwise, check "No."
     _     Qualifying widow(er)               I Head of household (If the qualifying person Is a child but not                                    (See instructions.)
      X    Married filing jointly               your dependent, see instructions.)                                                                                FX-  Yes               ri      No
                                                                                                                                       A. Original amount            a Net change-
                       Use Part Ill on the back to explain any changes                                                                   ores previously            amount of increase                C. Correct
                                                                                                                                             adjusted                 or (decrease).                   amount
    Income and Deductions                                                                                                               (see instructions)           explain In Part III
       4   Adjusted gross income. If net operating loss (NOL) carryback is
           included, check here                                                                   .1 1 1                               2,548,301.                         66,112.                  2,614,713.
       2   Itemized deductions or standard deduction                                                                     2               489,952.                         -3,008.                    486,944.
       3   Subtract fine 2 from line 1                                                                                   3             2,058,349,                         69,420.                  2,127,769.
       4   Exemptions. If changing, complete Part I on page 2 and enter the
           amount from line 29                                                                                           4                                                       NONE                    NONI
       5    Taxable income. Subtract line 4 from line 3                                                                  5             2,058,319.                             69,420.              2,127,769.
    Tax Liability
       6    Tax. Enter method(s) used to figure tax (see instructions):
                                                                                             SC-I. D                     6                 64.9,577.                          27,490,                    677,067,
       7   Credits. If general business                  credit     carryback is     included,     check
           here                                                                                    11' .                 7                477,765.                               483.                    478,248,
       8   Subtract line? from line 6. If the result is zero or less, enter -0- , , , , , ,,
                                                                                         v
                                                                                              8                                           171,812,                            27,007,                    198,819,
       9   Health care: individual responsibility (see instructions)     i x a iwtioll .E - 9---
     10    Other taxes                                     ,,c,, f; CI CA ' *1'              10.i,                                         30,810.                               602.                     31,412.
                                                             if 4.„)M
                                                                 K    1
     11     Total tax. Add lines 8, 9, and 10 . . ,                   1-:. .......          "r al . . .Jr' '12-1                          202,622.                            27,609.                    230,231.
    Payments                                                                 A eR k1 k l 'at°
     12    Federal income tax withheld and excess social security an a                                                ..,,,,,                    ,. . •,
           tax withheld (if changing, see instructions) , . r31,',":C.,.% M                                             12                 3_2.5:12k.6'r.                            598                 326_,A0.4,
     13    Estimated tax payments, including amount i'lelftd '41    li t= prior year's,
                                                                                                               i      ----
                                                                                                                          ..-•                           glz , '
           return                                                                                            -i,---     13                123,050.                                                       123,osp,
     14    Earned income credit (EIC                                                                                  _14                           1 =--f '.-i         AAR                =NV 70
     15    Refundable credits from:             Schedule 8812           Form(s)       2439           4136
                                                                                                                                                                     f,..( 4,
                                                                                                                                                                            I:          MUM                            o
                -   5405            8801        8812 (2011) 1         I 8839          8863                 8885                                                       "*       '
                                                                                                                                                                    ,.,-,,,,,,-. , - -                                 fl
                  seor
                   n         other(speayy                                       15 „ . -           •                                                                         l• • - TAP
                                                                                                                                                                                      , , 4 ,.7,tato
                                                                                                                                                                                                                       4,
     16     Total amount paid with request for extension of time to file, tax paid with original return, and ad                                                                    n 1
                                                                                                                                                                          k                                           ;4
           tax paid after return was filed
                                                                                                                                                                          Jr                16                 NON
     17    Total payments. Add lines 12 through 16                                                                                                                                          17    Z344
                                                                                                                                                                          `44-.9
    Refund or Amount You Owe (Note. Allow up to 16 weeks for Form 1040X to be processed.)
     18    Overpayment, if any, as shown on original return or as previously adjusted by the IRS                                                                                            18         246,634.
     19    Subtract line 18 from line 17 (If less than zero, see instructions)                                                                                                              19         203,220.
     20    Amount you owe. If line 11, column C, is more than line 19, enter the difference                                                                                                 20          27,011-
     21    If line 11, column C, is less than line 19, enter the difference. This is the amount overpaid on this return                                                                     21
     22    Amount of line 21 you want refunded to you                                                                                                                                       22
     23    Amount of line 21 you want applied to your (enter year):                                                   estimated tax 123 1
                                                                                                                                                                    Complete and sign this form on Page 2.
    For Paperwork Reduction Act Notice, see instructions.                                                                                                                                Form 1040X (Rev. 12.2.014)
    JSA
4A0180 2.000
                 09697M 7136 03/01/2018 21:00:41 V14-7.6F 4                                                                                       t012C1           *INTEREST: $3,093
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                                                                                                                                 f?'

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                                                                                     EX. 501A p. 2 of 17
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                                                                           AS AMENDED
SCHEDULE A                                                                                                                           OMB No. 1545-0074
                                                                     Itemized Deductions
(Form 1040)

Department of the Treasury
                                       Information about Schedule A and its separate instructions Is at wwwirs.govIschedulea.
                                                                            ill. Attach to Form 1040.
                                                                                                                                        zai4
                                                                                                                                       Attachment
Internal Revenue Service (99)                                                                                                          Sequence No. 07
Name(s) shown on Form 1040                                                                                               Your social security number

5I_QEMB___11,113                                   1.0QE
               Caution. Do not include expenses reimbursed or paid by others.
Medical
            1 Medical and dental expenses (see instructions)
and          2 Enter amount from Form
Dental         1040, line 38            I 2 I
             3 Multiply line 2 by 10% (.10). But if either you or your spouse
Expenses       was born before January 2, 1950, multiply line 2 by 7.5%           3
               (.075) instead
             4 Subtract line 3 from line 1, If line 3 is more than line 1, enter 0-
Taxes You            5   State and local (check only one box):
Paid                     a     X Income taxes, or                  .....       STMT-4          5        222,369.
                         b         General sales taxes
                     6   Real estate taxes (see instructions)                                  6           60,985.
                     7   Personal properly taxes                                               7            - ,591.
                     8   Other taxes. List type and amount 0-


                     9   Add lines 5 through 8                                                                           9                284,945 .
Interest            10   Home mortgage interest and points reported to you on Form 1098       10           30,800.
                    11   Home mortgage interest not reported to you on Form 1098. If paid
You Paid
                         to the person from whom you bought the home, see instructions
Note,                    and show that person's name, identifying no., and address 1111'
Your mortgage
interest                                                                                      11
deduction may
be limited (see 12       Points not reported to you on Form 1098, See Instructions
instructions),           for special rules                                                    12
                    13   Mortgage insurance premiums (see instructions)                        13
                    14   Investment interest. Attach Form 4952 if required. (See instructions.) 14         20,274.              STMT 4
                    15   Add lines 10 through 14                                                                         15                 51,074
Gifts to            16   Gifts by cash or check. If you made any gift of $250 or
Charity                  more, see instructions . . SEE. STATEMENT. A.                         16       220,215,
                    17   Other than by cash or check. If any gift of $250 or more,
If you made a
gift and gala            see instructions. You must attach Form 8283 if over $500 ,            17
benefit for it,     18   Carryover from prior year                                             18
see instructions.
                    19   Add lines 16 through 18                                                                         19               220,215
Casualty and
Theft Losses 20          Casualty or theft loss(es). Attach Form 4684. (See instructions.)                               20
Job Expenses 21 Unrelmbursed employee expenses - job travel, union dues, job
and Certain      education, etc. Attach Form 2106 or 2106-EZ if required, (See
Miscellaneous    instructions.) 11.                                                            21           2,500.
Deductions                                                                                     22
              22 Tax preparation fees
                    23   Other expenses - investment, safe deposit box, etc. List type and
                         amount Ow                        SEE STATEMENT 5
                                                                                               23          19,265.
                    24   Add lines 21 through 23                                               24          21,765,
                    25   Enter amount from Form I
                         1040, line 38          t 25 1                2,614,713,
                    26   Multiply line 25 by 2% (.02)                                          26          52,Z94,
                    27   Subtract fine 26 from line 24. If line 26 is more than line 24, enter -U-                       27                       NONE
Other         28         Other - from list in instructions. List type and amount 0,-
Miscellaneous
Deductions                                                                                                               28
Total               29   Is Form 1040, line 38, over $152,525?            SEE STMT 6
Itemized                     jNo. Your deduction is not limited. Add the amounts in the far right column                 29                486,944.
                              for lines 4 through 28. Also, enter this amount on Form 1040, line 40.
Deductions
                       I x I Yes. Your deduction may be limited. See the Itemized Deductions
                             Worksheet in the instructions to figure the amount to enter.
                    30 If you elect to itemize deductions even though they are less than your standard
                        deduction, check here                                                        1.1             1
For Paperwork Reduction Act Notice, see Form 1040 Instructions.                                                                 Schedule A (Form 1040) 2014
JSA
4A1400 2,000
            09697M 7136 03/01/2018 21:00:41 V14-7.6F 19990123C1




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                                                                        EX. 501A p. 7 of 17
